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               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


PACE-O-MATIC, INC.,
                                             NO. 20-CV-292
                   Plaintiff,
                                             JUDGE WILSON
      v.

                                             MAGISTRATE JUDGE
ECKERT, SEAMANS, CHERIN &                    SAPORITO
MELLOTT, LLC, MARK S.
STEWART and KEVIN M.
SKJOLDAL,


                   Defendants.               ELECTRONICALLY FILED



                                STIPULATED ORDER


      WHEREAS, Plaintiff Pace-O-Matic, Inc. (“POM”) filed a Motion for

Preliminary Injunction and supporting brief on March 24, 2020 (ECF Nos. 12, 13)

and then an Amended Motion for Preliminary Injunction on September 17, 2021

(ECF No. 157) and supporting brief on October 1, 2021 (ECF No. 160), seeking to

enjoin Defendants, Eckert Seamans Cherin & Mellott, LLC, Mark S. Stewart and

Kevin M. Skjoldal (collectively, “Eckert”) from continuing to engage in

representations which POM contends constitute a prohibited conflict of interest


and breach of the fiduciary duty of undivided loyalty;

      WHEREAS, Eckert filed a brief in opposition to POM’s motion for

preliminary injunction on April 21, 2020 (ECF No. 21) and a brief in opposition to


POM’s amended motion for preliminary injunction on October 22, 2021 (ECF No.
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164), denying any conflict of interest or breach of fiduciary duty;


      WHERAS, pursuant to the Stipulation entered as a Court Order on May 18,


2020 (ECF No. 27), the parties initiated discovery concerning POM’s motion for


preliminary injunction;


      WHEREAS, Eckert filed sworn declarations (ECF 1 12-2, 112-3) asserting


that no one on behalf of Eckert discussed a conflict waiver with anyone at POM


and agreeing to withdraw from certain representations adverse to POM;


      WHEREAS, the Honorable Joseph F. Saporito, Jr. issued a Memorandum


and Order on November 16, 2021 concerning the production of certain documents


subject to an ongoing discovery dispute and ordering the production of those


documents;


      WHEREAS, the November 16, 2021 ruling is the subject of an appeal


pending before the Honorable Jennifer P. Wilson;


      WHEREAS, discovery is ongoing; and


      WHEREAS, the parties have agreed to resolve issues raised in the motion


for preliminary injunctive relief and the amended motion for preliminary injunctive


relief through entry of this Court-approved Stipulation and will continue to litigate


issues concerning liability and damages.


      IT IS HEREBY STIPULATED AND AGREED by and between the parties


as follows:




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      1.     Eckert did not obtain informed consent from POM for its concurrent


representation of Parx Casino in relation to the matters pending in the


Pennsylvania Commonwealth Court at Nos. 418 M.D. 2018 and 503 M.D. 2018.


      2.     Eckert remains bound by Rules 1.7 and 1.9 of the Pennsylvania Rules


of Professional Conduct and will not in the future represent any party adverse to


POM consistent with Rules 1.7 and 1.9 of the Pennsylvania Rules of Professional

Conduct.


      3.     Eckert will not communicate, directly or indirectly, with any


defendant or any intervenor or proposed intervenor or counsel for any defendant or


intervenor or proposed intervenor regarding the litigation matters pending at Nos.


418 M.D. 2018 and 503 M.D. 2018 in the Pennsylvania Commonwealth Court.


      4.     Eckert will not, directly or indirectly, assist, help, and/or communicate


with Parx Casino or any affiliate of Parx Casino or counsel for any of them


regarding the actions in Montgomery or Bucks County or any similar action.


Eckert has withdrawn from representing Parx Casino in the actions filed on behalf

of Parx Casino in Montgomery County and Bucks County, Pennsylvania against


entities hosting POM skill games.


      5.     Eckert will not represent any party, directly or indirectly, in any


capacity, including as counsel for any industry group or association, in any matter

adverse to POM or any POM affiliate, including, but not limited to, POM of




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Pennsylvania, LLC and Queen of Virginia Skill & Entertainment, LLC, that is


directly or indirectly related to POM skill games. Nor will Eckert represent any


party, directly or indirectly, in any capacity, in any legal proceeding against any


entity that hosts or offers POM’s skill games if or when POM’s skill games are at


issue.


         6.   Eckert will not on behalf of any client advocate, directly or indirectly,


in any forum, including in any legislative, lobbying, government relations and/or


public relations context, against the legality of electronic games of skill


manufactured or distributed by POM or any POM affiliate, including but not


limited to POM of Pennsylvania, LLC and Queen of Virginia Skill &


Entertainment, LLC, or advocate, directly or indirectly, that POM games are not


games of skill or are not games where skill predominates over chance.


         7.   Eckert will not communicate, directly or indirectly, with any


government or law enforcement agency concerning the legality of POM skill


games, the seizure of POM skill games or legislation concerning skill games.


         8.   The prohibitions in Paragraphs 2 through 7 of this Stipulation and


Order shall continue to bind Eckert after this litigation ends. This Order shall


constitute a stipulated permanent injunction.


         9.   Upon entry of this Stipulation as an Order of Court, this Stipulation


shall resolve the issues raised in POM’s motion for preliminary injunction (ECF




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Nos. 12, 13) and POM’s amended motion for preliminary injunction (ECF Nos.


157, 160). This Court shall retain jurisdiction over this matter for purposes of


enforcing this Court-approved Stipulation.


       10.   Nothing contained herein shall be deemed a waiver of any other


claims or defenses. All claims for monetary and punitive damages shall continue


to be litigated in the regular course.


       11.   Nothing contained herein shall be deemed a waiver of the relief


sought in the motion to compel discovery, motions for protective order, motions to


quash and/or appeals relating to such motions. Those motions and appeals, if any,


will be briefed and decided in the regular course.


Respectfully submitted,


/s/ Daniel T. Brier                           /s/ Robert S. Tintner
Daniel T. Brier                               Abraham C. Reich
Donna A. Walsh                                Robert S. Tintner


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Attorneys for Plaintiff,                      Attorneys for Defendants,
Pace-O-Matic, Inc.                            Eckert Seamans Cherin & Mellott, LLC,
                                              Mark S. Stewart and Kevin M. Skjoldal
Dated: January 26, 2022


                                              SO ORDERED:

                                               s/ Jennifer P. Wilson

                                              Jennifer P. Wilson, U.S.D.J.


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